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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
                                                                :
ELLIOTT BROIDY and BROIDY CAPITAL                               :
MANAGEMENT, LLC,                                                :
                                                                :
                           Plaintiffs,                          :
                                                                :
                  - against -                                   :
                                                                :
GLOBAL RISK ADVISORS LLC,
                                                                :
GRA MAVEN LLC,                                                      Case No. 19-cv-11861-MKV
                                                                :
GRA QUANTUM LLC,
                                                                :
GLOBAL RISK ADVISORS EMEA LIMITED,
                                                                :
GRA RESEARCH LLC,
                                                                :
QRYPT, INC.,
                                                                :
KEVIN CHALKER,
                                                                :
DENIS MANDICH,
                                                                :
ANTONIO GARCIA, and
                                                                :
COURTNEY CHALKER,
                                                                :
                           Defendants.                          :
                                                                :
----------------------------------------------------------------x

                                  DECLARATION OF NANCY HART

        I, Nancy Hart, hereby declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that

the following is true and correct:

        1.       I am a partner in the law firm Gibson, Dunn & Crutcher LLP (“Gibson Dunn”), and

I am admitted to practice law in the State of New York and the Southern District of New York. I

am one of the attorneys from Gibson Dunn representing the firm in Plaintiffs’ Motion for Sanctions

(ECF 163). I make this declaration in response to Plaintiffs’ Motion.

        2.       Attached hereto as Exhibit A is a true and correct copy of the Huffington Post

article titled “Leaked Emails Appear To Show A Top Trump Fundraiser Abusing His Power” and

dated March 2, 2018 (ECF 139-5).
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        3.     Attached hereto as Exhibit B is a true and correct copy of the Wall Street Journal

article titled “Trump Ally Was In Talks to Earn Millions in Effort to End 1MDB Probe in U.S.”

and dated March 1, 2018.

        4.     Attached hereto as Exhibit C is a true and correct copy of The New York Times

article titled “How 2 Gulf Monarchies Sought to Influence the White House” and dated March 21,

2018.

        5.     Attached hereto as Exhibit D is a true and correct copy of The New York Times

article titled “Fund-Raiser Held Out Access to Trump as a Prize for Prospective Clients” and dated

March 25, 2018.

        6.     Attached hereto as Exhibit E is a true and correct copy of the Partial Unsealing

Order issued in In the Matter of the Search of Information Associated with Three Accounts Stored

at Premises Controlled by Google, Inc. for Investigation of Violation of 18 U.S.C. § 1344, No.

1:18-sc-00322-BAH, ECF 40 (D.D.C. Dec. 14, 2020).

        7.     Attached hereto as Exhibit F is a true and correct copy of the Partial Unsealing

Order issued in In the Matter of the Search of Information Associated With Three Accounts Stored

at Premises Controlled by Google, Inc. for Investigation of Violation of 18 U.S.C. § 1344,

No. 1:18-sc-00322-BAH, ECF 44 (D.D.C. Dec. 15, 2022).

        8.     Attached hereto as Exhibit G is a true and correct copy of the Criminal Information

filed in United States v. Broidy, No. 1:20-cr-00210-CKK, ECF 1 (D.D.C. Oct. 6, 2020).

        9.     Attached hereto as Exhibit H is a true and correct copy of the Statement of Offense

filed in United States v. Broidy, No. 1:20-cr-00210-CKK, ECF 7 (D.D.C. Oct. 20, 2020).

        10.    Attached hereto as Exhibit I is a true and correct copy of the Plea Agreement filed

in United States v. Broidy, No. 1:20-cr-00210-CKK, ECF 8 (D.D.C. Oct. 20, 2020).




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        11.      Attached hereto as Exhibit J is a true and correct copy of the press release from the

Department of Justice titled “Elliott Broidy Pleads Guilty for Back-Channel Lobbying Campaign

to Drop 1MDB Investigation and Remove a Chinese Foreign National” and dated October 20,

2020.

        12.      Attached hereto as Exhibit K is a true and correct copy of the New York Times

article titled “Two Trump Allies, Seeing Unlimited Opportunity, Instead Drew Scrutiny” and dated

July 24, 2018.

        13.      Attached hereto as Exhibit L is a true and correct copy of the Gibson Dunn

biography of my partner, Orin Snyder.



        I declare under penalty of perjury that the foregoing is true and correct.



Dated: March 6, 2023
New York, New York.




                                                    Nancy E. Hart




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